






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00065-CV






Cecilio Caldera, Jr., Appellant


v.


Texas Department of Family and Protective Services, Appellee






FROM THE DISTRICT COURT OF TOM GREEN COUNTY, 340TH JUDICIAL DISTRICT

NO. C-08-0118-CPS-1, HONORABLE JAY K. WEATHERBY, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N


		Cecilio Caldera, Jr. appeals the district court's order terminating his parental rights
to his minor child, M.C.  Caldera's court-appointed attorney filed a brief concluding that the appeal
is frivolous and without merit.  The brief meets the requirements of Anders v. California, 386 U.S.
738 (1967), by presenting a professional evaluation of the record demonstrating why there are no
arguable grounds to be advanced.  See Taylor v. Texas Dep't of Protective &amp; Regulatory Servs.,
160&nbsp;S.W.3d 641, 646-47 (Tex. App.--Austin 2005, pet. denied) (applying Anders procedure in
appeal from termination of parental rights).  Caldera received a copy of counsel's brief and was
advised of his right to examine the appellate record and to file a pro se brief.  No pro se brief
has&nbsp;been filed.

		We have reviewed the record and counsel's brief and agree that the appeal is frivolous
and without merit.  We find nothing in the record that might arguably support the appeal.  See
Bledsoe v. State, 178 S.W.3d 824, 826-27 (Tex. Crim. App. 2005).  Counsel's motion to withdraw
is granted.

		The order of termination is affirmed.



						__________________________________________

						Diane M. Henson, Justice

Before Chief Justice Jones, Justices Henson and Goodwin

Affirmed

Filed:   April 29, 2011


